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                               UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

                 Plaintiffs,

         v.
                                                     Case No. 8:19-cv-710-MSS-TGW
  BRIGHT HOUSE NETWORKS, LLC,

                 Defendant.

   PLAINTIFFS’ MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                     PRODUCTION OF DOCUMENTS

        Plaintiffs seek an order compelling Defendant Bright House Networks, LLC (“BHN”) to

 produce responsive and relevant discovery it has refused to produce after months of stalling and

 unreasonable delay. Plaintiffs served requests for production and interrogatories seeking this

 discovery more than five months ago. Despite multiple attempts by Plaintiffs to resolve these

 disputes without court intervention, BHN remains unwilling to produce even the most basic

 categories of documents that have obvious and undeniable relevance to this case. Plaintiffs thus

 request that the Court issue an order compelling BHN to:

        1.      Provide a full response to Plaintiffs’ Interrogatory Nos. 11 and 12, without

 reliance on Rule 33(d);

        2.      Produce financial documents sufficient to show (i) BHN’s average revenue and

 profits, broken down by service, from January 1, 2010 through May 17, 2016, (ii) BHN’s actual

 monthly revenue from all subscribers identified in Plaintiffs’ Infringement Notices for January 1,

 2012 through May 17, 2016, and (iii) BHN’s audited financial statements for the period of

 January 1, 2010 through May 17, 2016;

        3.      Produce copies of BHN’s final copyright or infringement policies without
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 limitation as to time; and produce drafts thereof, as well as documents describing the effects of

 those policies, how they were communicated to third parties and subscribers, and identifying the

 employees or agents responsible for developing, conceiving, drafting and/or implementing such

 policies, for the time period of January 1, 2010 through May 17, 2016; and

        4.      Produce for the time period of January 1, 2010 through May 17, 2016 (i) logs of

 all Infringement Notices (or “ticket log” data) pertaining to all of BHN’s subscribers who have

 been identified in Plaintiffs’ Infringement Notices, without limitation as to the complainant, (ii)

 all communications about such Infringement Notices, and (iii) documents sufficient to show all

 actions taken by BHN to limit, suspend, or terminate the service of subscribers associated with

 such Infringement Notices.

                                          BACKGROUND
        Plaintiffs are record companies and music publishers that produce, manufacture,

 distribute, sell, and license commercial sound recordings and musical compositions. Dkt. 1

 (“Complaint”) ¶ 1. Through enormous investments of money, time, and creative effort,

 Plaintiffs—and the recording artists and songwriters they represent—have developed and

 marketed some of the world’s most famous and popular music. Id. Collectively, Plaintiffs own

 or control the copyrights to millions of musical compositions and sound recordings, which is one

 of their primary sources of income. Id. ¶ 12. Defendant BHN is one of the largest internet

 service providers in the country. This case concerns BHN’s vicarious and contributory liability

 for its knowing, willful, and extensive contribution to the massive infringement of Plaintiffs’

 copyrighted works across BHN’s internet services.

        On June 10, 2019, Plaintiffs served their first sets of Requests for Production of

 Documents (“RFPs”) and interrogatories on BHN. Declaration of Neema T. Sahni (“Sahni

 Decl.”), Exs. A & B. BHN served responses and objections thereto on July 10. Id., Exs. C & D.


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 Plaintiffs then sent a letter to BHN on August 15 to meet and confer about certain deficiencies in

 BHN’s responses. Id., Ex. E. BHN responded by letter on August 27. Id., Ex. F. On September

 9, the parties met and conferred in person regarding these deficiencies. Id. ¶ 8. During those

 discussions, BHN was unprepared to offer a reasonable resolution on even basic discovery

 requests; for example, rather than agreeing to produce basic financial information, BHN’s

 counsel indicated that they would need to investigate what BHN had available and get back to

 Plaintiffs later. Id. Plaintiffs memorialized those discussions in a September 25 letter. Id., Ex.

 G. BHN responded to Plaintiffs’ letter on October 1 (id., Ex. H), to which Plaintiffs replied in a

 letter dated October 16, 2019 (id., Ex. I). The parties met and conferred further by phone on

 October 24, 2019, and Plaintiffs followed this discussion with an October 26, 2019 email

 detailing the parties’ positions and outstanding issues, hoping progress could be made after

 months of delay. Id. ¶ 11 & Ex. J.

         BHN responded to this email on October 30, indicating BHN was still investigating a

 number of Plaintiffs’ requests and even retreating from certain earlier positions. Id., Ex. K. For

 example, during the October 24 call, BHN agreed to Plaintiffs’ request that it produce

 information pertaining to notices of copyright infringement that were not sent by Plaintiffs, so

 long as they identified subscribers that had been the subject of another notice sent by Plaintiffs.

 Id. ¶ 11. But BHN reversed course in its October 30 email, taking the wholly unreasonable

 position that it could not state its position on this request, and a number of others, until after

 Plaintiffs produced infringement notices in their possession (notices which were sent to BHN

 and thus should be in BHN’s own possession). Id., Ex. K. In a final attempt to resolve these

 issues, Plaintiffs sent a further email to BHN on November 4, 2019. Id., Ex. L. BHN’s email

 reply on November 7 failed to address many of Plaintiffs’ concerns. Id., Ex. M. Instead, BHN




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 once again attempted to shift the burden to Plaintiffs to produce certain documents before BHN

 would comply with its own discovery obligations, and demanded additional explanation

 regarding some categories of documents the parties already had been discussing for months. Id.

 It is plain that the parties are at an impasse and judicial intervention is required.

                                        LEGAL STANDARD
         Plaintiffs are entitled to discovery “regarding any nonprivileged matter that is relevant to

 any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

 In response to a motion to compel disclosure pursuant to Fed. R. Civ. P. 37(a), “[t]he party

 resisting production of information bears the burden of establishing lack of relevancy or undue

 burden in supplying the requested information.” Gober v. City of Leesburg, 197 F.R.D. 519, 521

 (M.D. Fla. 2000). Any objection based on the request being overly broad or unduly burdensome

 cannot be boilerplate, but instead must provide a “full, fair explanation” of the objection

 “particular to the facts of the case.” M.D. Fla. Discovery Handbook § III.A.6 (rev. June 5, 2015).

                                             ARGUMENT
         More than five months into discovery, BHN has produced no documents (Sahni Decl. ¶

 16), and even refuses to commit to the production of basic discovery necessary to this case.

 Plaintiffs have patiently attempted to resolve these disputes without judicial intervention—to no

 avail. BHN has either flatly refused to produce relevant documents, or else strung Plaintiffs

 along with repeated representations that it is investigating various proposals that truly require no

 investigation. Prompt resolution of these issues is necessary to comply with discovery deadlines

 and prepare this case for trial.

 I.      Basic Subscriber Data
         Consistent with it obstructionist approach to discovery, BHN has refused to respond to a

 simple interrogatory requesting its total number of internet subscribers on a monthly and yearly



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 basis, for the time period of January 1, 2010 through May 17, 2016:

 INTERROGATORY NO. 11: State your total number of Subscribers, per month and year.
 OBJECTIONS: Bright House objects that this request is overbroad, unduly burdensome, and
 seeks information that is outside the scope of permissible discovery because it is not relevant to
 any party’s claim or defense, and to the extent this request seeks information outside the Discovery
 Period. Bright House reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P.
 33(d).1
        BHN has not responded to this interrogatory at all, instead offering a purported

 “reservation of right” to later respond pursuant to Rule 33(d). BHN again refused to commit to

 respond to this interrogatory in subsequent meet-and-confer conferences. Sahni Decl. ¶ 11. To

 date, BHN has made no supplemental response, nor designated any documents (or indeed,

 produced any documents at all) to respond to this interrogatory under Rule 33(d). Id. ¶ 16.

        This interrogatory seeks the most basic possible information about BHN’s core business:

 its number of internet subscribers per month and year, from a few years before Plaintiffs’ claim

 period through the end of the claim period on May 17, 2016. This foundational information is

 relevant to a number of issues. First, comparing the number of subscribers that have infringed

 Plaintiffs’ copyrighted works over BHN’s services to BHN’s total subscribers is the only way to

 determine the scope of infringement occurring, and the reasonableness (or not) of BHN’s actions

 to address known infringement activity on its networks. Second, this information is relevant to

 the question of whether the ability to illegally download copyrighted materials has acted as a

 “draw” to subscribers, which BHN has argued that Plaintiffs need to demonstrate for vicarious

 liability. Under BHN’s own theory, Plaintiffs then need to understand the number of subscribers

 that were joining or disconnecting from BHN’s services over time. See A&M Records, Inc. v.


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         Pursuant to Local Rule 3.04, Plaintiffs quote in full all discovery requests and responses
 at issue in this Motion. All discovery requests and objections quoted herein are contained in
 Plaintiffs’ discovery requests and BHN’s objections and responses thereto. See Sahni Decl., Exs.
 A–D.


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 Napster, Inc., 239 F.3d 1004, 1023 (9th Cir. 2001) (affirming finding of “draw” based on tie

 between revenue and changes to user base). Third, the information is relevant to BHN’s

 argument that it is not feasible to take certain steps to address known infringement because doing

 so would have a dramatic impact on many of its customers; Plaintiffs need to know how many

 customers BHN has in the first place to test this theory.

        There is no credible argument that production of this information would be burdensome

 or disproportionate to the needs of this case. Tracking and calculating total subscribers is

 fundamental to BHN’s core business, and the number of subscribers BHN had in a given month

 or year is no doubt available from databases that BHN can easily query for this information.

 Accordingly, Plaintiffs request that the Court compel BHN to provide a full response to this

 interrogatory, without reliance on Rule 33(d).

 II.    Termination Data
        Plaintiffs also ask this Court to compel BHN to provide a response to Plaintiffs’

 Interrogatory No. 12:

 INTERROGATORY NO. 12: State the number of Subscribers, per month and year, whose
 internet service you terminated for failing to pay amounts owing on the Subscriber’s account.
 OBJECTIONS: Bright House objects that this request is overbroad, unduly burdensome, and
 seeks information that is outside the scope of permissible discovery because it is not relevant to
 any party’s claim or defense, and to the extent this request seeks information outside the Discovery
 Period. Bright House further objects to this request because it is unduly burdensome and
 unnecessarily duplicates other discovery requests that Plaintiffs have propounded, including FRP
 Nos. 2 and 15. Bright House reserves its right to respond to this interrogatory pursuant to Fed. R.
 Civ. P. 33(d).
        This represents the inverse of the above interrogatory, asking BHN to state the number of

 subscribers it terminated for non-payment, on a monthly and yearly basis, since 2010. BHN has

 refused to respond. Sahni Decl. ¶ 11. BHN’s handling of subscribers, including for non-

 payment, is relevant, at minimum, to BHN’s right and ability to control infringement for

 purposes of establishing its vicarious liability, and to whether BHN materially contributed to


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 such infringement by failing to stop it.

        Vicarious copyright infringement requires a showing that BHN had the right and ability

 to supervise the infringing activity. Broadcast Music, Inc. v. Joint Bar & Grill, LLC, 2012 WL

 6933552, at *2 (S.D. Fla. 2012); BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F.

 Supp. 3d 634, 673-74 (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018).

 In determining whether a defendant had the right and ability to supervise infringing activity,

 courts look to whether the defendant could and did take action against violations of its policies,

 including those that are not related to infringement. See A&M Records, Inc. v. Napster, Inc., 239

 F.3d 1004, 1023 (9th Cir. 2001) (finding that the right and ability “to block infringers’ access to

 a particular environment for any reason whatsoever is evidence of the right and ability to

 supervise”); Arista Records, Inc. v. Usenet.com, Inc., 633 F. Supp. 2d 124, 157 (S.D.N.Y. 2009)

 (same). This means that if BHN regularly terminated the accounts of subscribers who failed to

 pay their subscription fees in violation of BHN’s policies, then BHN could have done the same

 for subscribers it knew repeatedly infringed Plaintiffs’ copyrights. See, e.g., Usenet, 633 F.

 Supp. 2d at 157 (finding defendants could control copyright infringement on their service based

 on disciplinary measures defendants took against users who posted “spam” and pornography).

        This information is also relevant to BHN’s contributory liability. If BHN routinely

 terminated subscribers who failed to pay their monthly fees, but allowed infringing subscribers to

 continue to use its services, that shows that BHN turned a blind eye to the infringement

 happening on its networks and materially contributed to it. See Venus Fashions, Inc. v.

 ContextLogic, Inc., 2017 WL 2901695, at *24 (M.D. Fla. Jan. 17, 2017) (finding that defendant’s

 “resistance or failure to implement this system provides circumstantial evidence that it is [sic]

 intentionally or knowingly contributes to the direct infringement by a third party”). For these




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 reasons, a jury should be permitted to compare the number of subscribers BHN terminated for

 non-payment to the number it terminated for copyright infringement.

        As to BHN’s unsupported burden objection, BHN is in the business of selling

 subscriptions, so the number of subscribers it has at a given time—and the number it has

 terminated for nonpayment—is no doubt available from databases BHN can easily query for this

 information. Accordingly, Plaintiffs request that the Court compel BHN to provide a full

 response to this interrogatory, without reliance on Rule 33(d).

 III.   Requests for Financial Information
        BHN also has refused to produce to Plaintiffs basic financial information including, inter

 alia, data on BHN’s total revenues and profits, audited company financials, and subscriber-level

 revenue data. This information is necessary to understand BHN’s financial position, and the

 degree to which that financial position has benefited from the subscriptions of subscribers that

 are the subject of Plaintiffs’ copyright infringement notices. In addition to being relevant to the

 financial-benefit element of Plaintiffs’ vicarious infringement claim, this information is also

 relevant to a jury’s assessment of statutory damages and willfulness. See, e.g., Bryant v. Media

 Right Prods., Inc., 603 F.3d 135, 144 (2d Cir. 2010) (when determining statutory damages,

 courts look at inter alia infringer’s state of mind, infringer’s profits, and conduct and attitude of

 the parties). But BHN has refused to produce any financial information other than publicly-

 available financial statements—a hollow commitment since BHN’s counsel previously

 represented that BHN is not a publicly-traded company that would be required to publish

 detailed public financial statements. Sahni Decl. ¶ 8. Indeed, it is clear from recent meet-and-

 confer efforts that BHN is not attempting to reach a good faith resolution of these requests. On

 October 30, BHN’s counsel represented that it was still “investigating” what financials it might

 have and what it could produce—five months after these requests were served. Id., Ex. K. By


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 November 7, BHN’s counsel had apparently abandoned this investigation, instead attempting to

 dispute the relevance of such information, while still appearing uncertain whether BHN

 maintained audited financials. Id., Ex. M. These should not be controversial requests—a

 sophisticated business entity like BHN must maintain basic financial summaries and track

 subscriber revenue as a matter of course. The time is long past for BHN to agree to produce such

 information.

        A.      Plaintiffs’ RFP No. 18
 REQUEST NO. 18: Documents sufficient to show your total and average revenues and profits,
 by month and year, including a breakdown based on the type of service provided.
 OBJECTIONS: Bright House objects to this request as vague and ambiguous, over-broad, and
 unduly burdensome, and as seeking information that is outside the scope of permissible discovery
 because it is not relevant to any party’s claim or defense. Bright House further objects to this
 request to the extent it seeks information that is that is publicly available. Bright House objects to
 this request as vague and ambiguous, in particular as the meaning of the undefined terms “average”
 and “breakdown,” and fails to describe with reasonable particularity the items or categories of
 items to be produced for inspection, including the specific department or service for which revenue
 information is sought. Bright House also objects to this request to the extent it improperly seeks
 information protected from disclosure by the attorney-client privilege, work product doctrine,
 common interest privilege, or other applicable privilege or doctrine. Bright House further objects
 to this request as premature as it purports to require Bright House to disclose individuals,
 documents, or things inconsistent with the Federal Rules of Civil Procedure, including Federal
 Rule of Civil Procedure 26(a)(2) and the rules and orders of this Court. Bright House further
 objects to the extent such information is related to items currently pending before the Court on
 Defendant’s Motion to Dismiss.
 Subject to and without waiving the foregoing objections, Bright House responds that it is willing
 to meet and confer in good faith with Plaintiffs concerning this request.
        This request seeks data concerning BHN’s financial performance from 2010, a few years

 prior to the claim period, through May 17, 2016, broken down by the type of service provided.

 This is relevant to a jury’s calculation of statutory damages as it shows BHN’s overall financial

 position, see Faulkner Press, LLC v. Class Notes, LLC, 2009 WL 4730624, at * 1 (N.D. Fla.

 2009) (compelling defendants to produce financial information “on grounds that it is relevant to

 an assessment of statutory damages”); Coach, Inc. v. Swap Shop, Inc., 2013 WL 4407064, at *3

 (S.D. Fla. 2013) (affirming similar Magistrate Judge’s order compelling production of financial


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  information), and is also relevant and necessary to compare the financial benefit BHN received

  from infringing activity against that overall financial position.

         BHN’s objections to producing this information have shifted throughout the meet-and-

  confer process: during the parties’ first meet and confer, BHN said it would only produce public

  information, but indicated detailed financial information about BHN was not publicly available

  because BHN was not a publicly-traded company. Sahni Decl. ¶ 8. BHN subsequently stated it

  would produce certain “public records” from March 2012 through May 2016. Id., Ex. G. BHN

  then said in early October that it intended to “commence production of responsive financial

  documents this month” (id., Ex. H); no production has yet been made (id. ¶ 16). During a further

  meet-and-confer on October 24, 2019, BHN once again agreed to revisit Plaintiffs’ requests for

  financial data in response to Request No. 18. Id. ¶ 11. Following further outreach by Plaintiffs,

  BHN’s counsel stated in an email dated October 30, 2019 that it was “actively investigating what

  [its] clients have” (id., Ex. K). BHN’s email of November 7 did not mention this request at all.

  Id., Ex. M.

         In any event, BHN’s response is plainly deficient. Sophisticated business entities like

  BHN must maintain basic financial information of this kind as a matter of course. There is no

  reason BHN should still be “investigating” whether such information exists. Nothing in this

  request requires BHN to generate new documents or conduct detailed analysis—basic revenue

  and profit information for its various services (i.e., phone, internet, television) is no doubt

  available in a number of high-level financial summary documents, databases, or board books.

  Plaintiffs are also not requesting the full contents of such documents with this request, only

  documents sufficient to show BHN’s total and average revenue and profits by month and year.

         BHN also has refused to provide information for the full time period requested,




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  unilaterally limiting its response to March 1, 2012 to May 17, 2016. Plaintiffs need information

  going back to 2010 to analyze trends in BHN’s financial performance over time, and to compare

  those trends against their own financial performance over the same period (indeed, Plaintiffs

  have agreed to produce company financials for that same period). This would help Plaintiffs

  demonstrate the comparative impact of rampant copyright infringement on BHN’s bottom line,

  as compared to Plaintiffs’. Plaintiffs thus ask the Court to compel production of documents

  sufficient to show BHN’s average revenue and profits, broken down by service, from January 1,

  2010 through May 17, 2016.

         B.      Plaintiffs’ RFP No. 19
  REQUEST NO. 19: Documents sufficient to show your total and average revenue and profit
  attributable to Subscribers about whom you received an Infringement Notice, including the per
  Subscriber revenue and profit by month and year.
  OBJECTIONS: Bright House objects to this request as vague and ambiguous, over-broad, and
  unduly burdensome, and as seeking information that is outside the scope of permissible discovery
  because it is not relevant to any party’s claim or defense. Bright House further objects to the extent
  it seeks documents not kept in the ordinary course of business and to the extent it seeks information
  that is publicly available. Bright House objects to this request as vague and ambiguous, in
  particular as the meaning of the undefined term “average” and phrase “attributable to Subscribers
  about whom you received an Infringement Notice,” and fails to describe with reasonable
  particularity the items or categories of items to be produced for inspection, including the specific
  department or service for which revenue information is sought. Bright House also objects to this
  request to the extent it improperly seeks information protected from disclosure by the attorney-
  client privilege, work product doctrine, common interest privilege, or other applicable privilege or
  doctrine. Bright House further objects to this request as premature as it purports to require Bright
  House to disclose individuals, documents, or things inconsistent with the Federal Rules of Civil
  Procedure, including Federal Rule of Civil Procedure 26(a)(2) and the rules and orders of this
  Court. Bright House further objects to the extent such information is related to items currently
  pending before the Court on Defendant’s Motion to Dismiss.
  Subject to and without waiving the foregoing objections, Bright House responds that it is willing
  to meet and confer in good faith with Plaintiffs concerning this request.
         This request again seeks BHN’s basic financial information, but at the subscriber level, as

  opposed to the company as a whole, for the period of January 1, 2010 to May 17, 2016. These

  documents and time period are critical because they will allow Plaintiffs to calculate the revenue

  BHN received from subscribers that received multiple infringement notices—revenues it would


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  not have received had BHN appropriately addressed known, repeat infringement activity

  occurring on its network. This is directly relevant to the financial-benefit element of Plaintiffs’

  vicarious infringement claim. See Capitol Records, LLC v. Escape Media Grp., 2015 WL

  1402049, at *42 (S.D.N.Y. Mar. 25, 2015) (holding that financial benefit exists “as long as the

  service provider has an economic incentive to tolerate infringing conduct”). In addition, the

  requested information will help correlate BHN’s knowledge of a subscriber’s infringing

  activities with payments received by BHN from that subscriber, which is relevant to a number of

  issues. For example, if Plaintiffs or others sent BHN multiple infringement notices regarding a

  certain subscriber from 2012, and the subscriber continued to pay for BHN’s services through

  2016, a jury should have an opportunity to consider that information in assessing statutory

  damages. See Faulkner Press, 2009 WL 4730624, at * 1. With respect to contributory

  infringement, correlating BHN’s knowledge of a subscriber’s infringing activities with payments

  received from that subscriber would show that BHN willfully facilitated, encouraged, and

  materially contributed to infringement by continuing to provide its network to those subscribers

  and receive subscription payments from them. See Venus, 2017 WL 2901695, at *24.

         To that end, and as a compromise, Plaintiffs ask this Court to compel BHN to produce

  documents sufficient to show actual monthly revenue from infringing subscribers—that is, all

  subscribers identified in Plaintiffs’ notices of infringement—for 2012–2016. Plaintiffs have

  previously explained these requests to BHN, including specifying that the information sought is

  comparable to “ICOMS” financial reports produced by an ISP defendant (represented by the

  same counsel that represents BHN here) in a similar case, Sony Music Entertainment v. Cox

  Communications, Inc., Case No. 1:18-cv-950 (E.D. Va.) (“Cox”). Although Plaintiffs have

  raised this issue several times in meet-and-confer discussions, BHN’s counsel responded as




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  recently as its October 30 email that it was still “actively investigating what [its] clients have

  with respect to subscriber-level financial data.” Sahni Decl., Ex. K. Once again, BHN has had

  five months to investigate the availability of this basic data. BHN is a large corporation in the

  business of billing clients for services, so undoubtedly it must track payments received from its

  customers, meaning this data certainly exists and can be extracted with relatively little burden.

         C.      Plaintiffs’ RFP No. 20
  REQUEST NO. 20: Documents sufficient to demonstrate your financial performance, including
  but not limited to regular corporate financial reports, audit reports, auditor letters, and any notes
  or supporting documents thereto.
  OBJECTIONS: Bright House objects to this request as vague and ambiguous, over-broad, and
  unduly burdensome, and as seeking information that is outside the scope of permissible discovery
  because it is not relevant to any party’s claim or defense. Bright House further objects to this
  request to the extent it calls for information that is publicly available. Bright House objects to this
  request as vague and ambiguous, in particular as the meaning of the undefined terms “financial
  performance,” “corporate financial reports,” and “supporting documents thereto,” and fails to
  describe with reasonable particularity the items or categories of items to be produced for
  inspection. Bright House also objects to this request to the extent it improperly seeks information
  protected from disclosure by the attorney-client privilege, work product doctrine, common interest
  privilege, or other applicable privilege or doctrine. Bright House further objects to this request as
  premature as it purports to require Bright House to disclose individuals, documents, or things
  inconsistent with the Federal Rules of Civil Procedure, including Federal Rule of Civil Procedure
  26(a)(2) and the rules and orders of this Court. Bright House further objects to the extent such
  information is related to items currently pending before the Court on Defendant’s Motion to
  Dismiss.
  Subject to and without waiving the foregoing objections, Bright House responds that it is willing
  to meet and confer in good faith with Plaintiffs concerning this request.
         Similar to RFP No. 18, this request seeks BHN’s basic company financial data for 2010

  to 2016, but here in the form of documents showing overall financial performance such as

  audited financial statements or regular corporate reports. This information, too, is relevant to a

  jury’s calculation of statutory damages as it shows BHN’s overall financial position. Faulkner

  Press, 2009 WL 4730624, at * 1. And although “evidence of financial gain is not necessary to

  prove vicarious liability as long as the service provider has an economic incentive to tolerate

  infringing conduct,” see Capitol Records, 2015 WL 1402049, at *42, Plaintiffs should be able to



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  present evidence to the jury on how the financial benefit BHN received from infringement on its

  network compares to its overall financial performance.

         BHN’s objections to producing these materials largely track those stated in response to

  RFP No. 18. BHN has to date only committed to producing certain “public records” from March

  2012 through May 2016, and has actually produced nothing. Sahni Decl. ¶ 16. During a further

  meet-and-confer on October 24, 2019, BHN’s counsel appeared to express confusion over what

  “audited financials” were, but agreed to revisit Plaintiffs’ requests for financial data in response

  to this Request. Id. ¶ 11. BHN’s counsel then stated in its October 30, 2019 email that it was

  still “actively investigating what [its] clients have.” Sahni Decl., Ex. K. In its November 7

  email, BHN’s counsel appeared to resort to a relevance objection, while also admitting that it had

  still failed to conduct a sufficient search to determine whether BHN actually possessed such

  statements. Id., Ex. M (“we fail to see the relevance of ‘audited’ financial statements, to the

  extent Defendants maintain them at all”).

         BHN’s continued stonewalling is totally inadequate. Sophisticated business entities like

  BHN must maintain audited financial statements or similar corporate financial reports

  summarizing their overall financial performance as a matter of course, and there can be no

  serious argument that it is burdensome to collect and produce those statements for a handful of

  years, nor is there any valid reason for BHN to still be “investigating” whether such statements

  exist five months into discovery. As to time period, as described above with respect to Request

  No. 18, BHN should be required to produce the requested company-wide financials dating back

  to 2010, so Plaintiffs can analyze trends in BHN’s financial performance over time, and compare

  them against Plaintiffs’ for that period. Plaintiffs thus request that the Court compel BHN to

  produce audited financial statements containing the information sought by Request No. 20 for




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  the period of January 1, 2010 through May 17, 2016.

  IV.    Requests to Which BHN Refuses to Respond for the Full Timeframe Requested, the
         Full Scope Requested, or Both.
         Plaintiffs have served a number of discovery requests for which BHN has agreed to

  produce documents for only an improperly limited time period, or for which BHN has

  improperly limited the scope of its response. Generally speaking, Plaintiffs’ requests specified

  that “the relevant time frame for these Requests is January 1, 2010 through May 17, 2016.”

  Sahni Decl., Ex. A, Instruction No. 8. In some cases, Plaintiffs requested certain documents for

  a different time period. BHN unilaterally limited its responses to most requests to what it

  defined as the “Discovery Period,” that is, March 1, 2012 through May 17, 2016. During meet-

  and-confer discussions, BHN suggested it might be willing to provide information from prior

  years, stringing Plaintiffs along for weeks. Id. ¶ 11. But BHN later confirmed its refusal to

  produce any documents or information from before 2012. Id., Ex. K.

         This Court has recognized that “[t]he relevant time frame” for a discovery request

  “depends upon the information being sought.” Miner, Ltd. v. Keck, 2019 WL 2869063, at *2

  (M.D. Fla. July 3, 2019).2 Here, as discussed below, evidence from before the claim period is

  necessary to inform Plaintiffs’ claims based on infringement occurring during the claim period.

         As to scope, Plaintiffs requested BHN produce various information and documents

  related to subscribers that are the subject of infringement notices relating to Plaintiffs’ works,


  2
          For example, in a class action arising from unsolicited sales phone calls, the relevant time
  period for discovery was not limited to the dates of the calls themselves, as defendant claimed,
  but rather took in the entire four-year statute of limitations period leading up to the complaint,
  because events from the longer period could determine some elements of the class claims. Mey
  v. Enter. Fin. Grp., Inc., 2016 WL 9110357, at *3 (M.D. Fla. July 27, 2016); see also Soto v.
  Genentech, Inc., 2008 WL 4621832, at *8 (S.D. Fla. Oct. 17, 2008) (in employment
  discrimination case, discovery could include two year period prior to plaintiff’s hiring); TIC Park
  Centre 9, LLC v. Cabot, 2017 WL 3034547, at *1, 6 (S.D. Fla. July 18, 2017) (in lease fraud
  case, discovery period took in three years prior to the fraudulent lease).


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  regardless of who sent such notices. That is because Plaintiffs allege BHN “failed to terminate

  or otherwise take meaningful action against the accounts of repeat infringers of which it was

  aware.” Complaint ¶ 3. That means that all notices related to any accused subscriber are

  relevant, regardless of whether Plaintiffs sent all or only some of those notices. See Order, BMG

  Rights Mgmt. v. Cox Enterprises, Inc., No. 14-cv-1611, Dkt. 1018 (E.D. Va. Aug. 21, 2018)

  (Sahni Decl., Ex. N) (finding communications related to analogous notices sent before claim

  period, unrelated to works in suit, were admissible at trial as evidence of system for addressing

  infringement). In fact, earlier this week, the Cox court permitted plaintiffs in that case to

  introduce evidence at trial on third-party notices, holding that “[c]umulative notices of

  infringement—particularly those targeted at the same subscribers receiving notices from

  Plaintiffs—are relevant” and admissible. Order, Sony Music Ent. v. Cox Commc’ns, Inc., No.

  1:18-cv-950, Dkt. 590 (E.D. Va. Nov. 19, 2019) (Sahni Decl., Ex. O) (“Cox Order”).

         To illustrate, if a given subscriber was the subject of multiple infringement notices sent

  by a third-party, then later was the subject of one or more infringement notices by Plaintiffs, the

  initial notices sent by the third-party would be highly relevant to the issue of whether BHN had

  knowledge of specific acts of infringement by that repeat infringer, and chose to do nothing to

  stop the repeat infringement, thereby materially contributing to it. See Venus, 2017 WL

  2901695, at *23–24; Michael Grecco Prods., Inc. v. RGB Ventures, LLC, 2017 WL 4077045, at

  *8 (M.D. Fla. 2017). The requested information is also relevant to rebutting potential defenses

  BHN may assert. See, e.g., BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293,

  303–05 (4th Cir. 2018) (finding no DMCA safe harbor because ISP did not consistently or

  meaningfully implement its repeat infringer policy); see also In re Aimster Copyright Litig., 252

  F. Supp. 2d 634, 659 (N.D. Ill. 2002), aff’d, 334 F.3d 643 (7th Cir. 2003) (finding that ISP fails




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  to reasonably implement repeat infringer policy for safe harbor when ISP fails to meaningfully

  enforce the terms of such policy). Although BHN originally seemed open to providing

  information related to all notices sent to subscribers identified in Plaintiffs’ notices, BHN has

  now backpedaled on this and refuses to commit to this production. See Sahni Decl. ¶ 11.

         A.      Plaintiffs’ RFP No. 8
  REQUEST NO. 8: Without regard to the time limitation set forth in Paragraph 8 of the
  Instructions above, all documents concerning any copyright or infringement policy applicable to
  Subscribers or Users, including but not limited to any draft or final versions of such policies; the
  effects of such policies; documents sufficient to identify the employees or agents with
  responsibility for developing, conceiving, drafting and/or implementing such policies; documents
  sufficient to show when you first adopted such policies and the date of any changes to such
  policies; and documents sufficient to show how and when such policies were communicated to
  third parties, including but not limited to Subscribers or Users. This request includes but is not
  limited to any DMCA Policy, Repeat Infringer Policy, and/or Acceptable Use Policy.
  OBJECTIONS: Bright House objects that this request is overbroad, unduly burdensome, and
  seeks information that is outside the scope of permissible discovery because it is not relevant to
  any party’s claim or defense, including because it seeks drafts of documents, and documents with
  no temporal limited. Bright House further objects that this request is vague and ambiguous,
  compound, and confusing, including because it seeks “all documents” that are “sufficient” to show
  or identify broad topics and because of its use of the undefined phrase “effects of such policies.”
  Bright House will interpret this request as seeking documents sufficient to show or identify the
  requested information. Bright House further objects to this request to the extent it improperly seeks
  information protected from disclosure by the attorney-client privilege, work product doctrine,
  common interest privilege, or other applicable privilege or doctrine. Bright House also objects to
  this request to the extent it seeks information that is not in Bright House’s possession, custody, or
  control, that is publicly available, or that is equally available to Plaintiffs. Bright House further
  objects to this request to the extent that it is duplicative of other discovery requests that Plaintiffs
  have propounded.
  Subject to and without waiving the foregoing objections, upon entry of an appropriate protective
  order Bright House will produce responsive, non-privileged documents concerning Bright House’s
  policies relating to copyright infringement that were in effect during the Discovery Period, to the
  extent Bright House finds such documents within its possession, custody, or control after
  undertaking a reasonable and diligent search.
         This request seeks documents concerning BHN’s copyright infringement policies without

  time limitation. Although Plaintiffs only claim against BHN for infringements occurring in

  2013–2016, BHN’s policies related to infringement are relevant to show, inter alia, the degree to

  which BHN knew of infringement by its subscribers before that point and what it did to enable it.



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  See Disney II, 2013 WL 6336286, at *9–11 (evidence of defendant’s inconsistent enforcement of

  its infringement policy relevant to infringement claims). Indeed, changes to BHN’s policies over

  time would be highly probative of BHN’s knowledge and motivations concerning infringement

  by its subscribers. Id. For example, if BHN began imposing less stringent policies for policing

  copyright infringement in 2011, prior to the claim period, that could help show that BHN’s

  policies were not reasonable; conversely, if BHN implemented stricter policies late in the claim

  period, that would support an inference that BHN knew its prior policies had been inadequate.

         In lieu of moving to compel all documents responsive to this Request, Plaintiffs ask the

  Court to compel the production of documents consistent with a compromise proposal Plaintiffs

  made to BHN by letter dated October 16: that BHN produce final copyright or infringement

  policies, including its DMCA Policies, Repeat Infringer Policies, and/or Acceptable Use

  Policies, without limitation as to time; but with respect to other documents responsive to this

  request (e.g., drafts and other related documents or emails), BHN need only produce for a more

  limited timeframe of January 1, 2010 through May 17, 2016. See Sahni Decl., Ex. I.

         B.      Plaintiffs’ RFP No. 2
  REQUEST NO. 2: Logs of all Infringement Notices3 sent to you by any person or entity, sufficient
  to show, as to each such Infringement Notice, the Subscriber ID, ticket number, date and time of
  alleged infringement as set forth in the Infringement Notice, IP address, each action taken or
  determined to not be taken with respect to such Infringement Notice, and the date and time of each
  such action or determination.
  OBJECTIONS: Bright House objects as this request is overbroad, unduly burdensome, and seeks
  information that is outside the scope of permissible discovery because it is not relevant to any
  party’s claim or defense, including because it seeks documents concerning works and parties not
  at issue in this litigation, to the extent it seeks documents not kept in the ordinary course of

  3
          As defined in Plaintiffs’ requests and used herein, “Infringement Notice” means “a notice
  that one or more of Bright House’s Subscribers or Users allegedly infringed a copyright. This
  includes notices sent on behalf of any copyright owner, regardless of whether or not Bright
  House’s processed or retained the notice. This term includes but is not limited to a notification of
  claimed copyright infringement pursuant to the DMCA, 17 U.S.C. § 512.” Sahni Decl., Ex. A,
  Definition No. 9.


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  business, and to the extent it requires Bright House to speculate as to the existence and ownership
  of unidentified copyrights. Specifically, Bright House objects to the undefined term “logs” and
  phrase “each action taken or determined not to be taken” as vague and ambiguous. Bright House
  further objects to this request to the extent it improperly seeks information protected from
  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or
  other applicable privilege or doctrine. Bright House also objects to this request to the extent it
  seeks information that is not in Bright House’s possession, custody, or control, that is publicly
  available, or that is equally available to Plaintiffs. Bright House further objects to this request to
  the extent that it is duplicative of other discovery requests that Plaintiffs have propounded. Bright
  House also objects to this request to the extent it purports to require Bright House to disclose
  information that infringes on any individual’s right of privacy, whether protected under the United
  States or any state constitution, or federal or state statute, regulation, or common law, or otherwise.
  Subject to and without waiving the foregoing objections, upon entry of an appropriate protective
  order, Bright House will produce responsive, non-privileged documents concerning notices of
  claimed infringement of Plaintiffs’ works in suit that were sent on Plaintiffs’ behalf during the
  Discovery Period, to the extent Bright House finds such documents within its possession, custody,
  or control after undertaking a reasonable and diligent search. Bright House will not produce
  personally identifiable information, other than the IP address, for any person absent a subpoena,
  Court order, or other form of due process that affords any affected individual notice and an
  opportunity to challenge the disclosure of such information.
         This request seeks logs of all Infringement Notices received by BHN for the time period

  of January 1, 2010 through May 17, 2016, which Plaintiffs intend to use as evidence of the

  infringement occurring on BHN’s network, and BHN’s knowledge thereof. In addition to

  refusing to produce documents from before 2012, BHN has also refused to produce information

  on subscribers identified in Infringement Notices not sent by Plaintiffs.

         Although Plaintiffs requested—and believe they are entitled to—all Infringement Notices

  sent to BHN during this time period as evidence of the overall infringement occurring on BHN’s

  platforms, as a compromise, Plaintiffs are willing to limit the scope of BHN’s production to the

  full infringement data history for those subscribers identified in Plaintiffs’ infringement notices,

  without limitation as to the complainant. Plaintiffs offered this compromise to BHN during the

  meet-and-confer process and understood BHN to accept it during their call on October 24, 2019.

  Sahni Decl. ¶ 11. Per BHN’s October 30 email, BHN now appears to have backtracked on this

  position without explanation, and also appears unwilling to commit to a position on this request



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  until after Plaintiffs produce their infringement notices. Id., Ex. K. BHN’s attempt to condition

  its response on Plaintiffs’ own production is plainly improper. See Mayfair House Ass’n, Inc. v.

  QBE Ins. Corp., 2010 WL 11505162, at *2 (S.D. Fla. Apr. 23, 2010) (“The Federal Rules do not

  permit one party to condition its participation in discovery on his or her opponent’s

  compliance.”). In any event, Plaintiffs recently produced copies of the Infringement Notices to

  BHN. Sahni Decl. ¶ 18.

         Discovery of Infringement Notices relating to all subscribers who were the subject of

  Plaintiffs’ Infringement Notices, regardless of the complainant, is critical evidence. See Ex. O,

  Cox Order at 2 (“[c]umulative notices of infringement—particularly those targeted at the same

  subscribers receiving notices from Plaintiffs—are relevant”). Among other reasons, this

  evidence demonstrates BHN had knowledge of specific acts of infringement occurring on its

  network by repeat infringers, and illuminates what steps, if any, BHN took against repeat

  infringers to curb their infringement activities. See Perfect 10, Inc. v. Amazon.com. Inc., 508

  F.3d 1146, 1172 (9th Cir. 2007); Venus, 2017 WL 2901695, at *23–24. Regarding timeframe,

  Plaintiffs seek infringement data for January 1, 2010 through May 17, 2016. Limiting the

  timeframe to March 1, 2012, as BHN attempts to do, would preclude Plaintiffs from identifying

  important historical trends regarding the magnitude of infringement on BHN’s service over time.

  It would also provide an incomplete picture of specific instances of infringement of which BHN

  may have been aware. See Mey, 2016 WL 9110357, at *3 (expanding timeframe to assist with

  determination of some claims). For example, if BHN received notice that a given subscriber

  committed five acts of infringement during the period 2012-2016, that would represent

  meaningful evidence that BHN knew of that subscriber’s repeat infringements and did nothing.

  However, Infringement Notices identifying that subscriber during the period of 2010-2012 would




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  also be highly relevant—if that same subscriber was previously identified in 10 more

  infringement notices, BHN’s failure to take action becomes more egregious.

          Given that BHN is a sophisticated entity that presumably maintains infringement notices

  in an automated or searchable database, producing these notices back to 2010 will not materially

  increase the burden of production. BHN has not once claimed otherwise throughout the parties’

  meet-and-confer process. Accordingly, the Court should compel BHN to produce documents

  responsive to this request dating back to 2010.

          C.      Plaintiffs’ RFP No. 4
  REQUEST NO. 4 All communications concerning alleged copyright infringement by your
  Subscribers or Users or through your internet service, including but not limited to all
  communications regarding Infringement Notices.
  OBJECTIONS: Bright House objects that this request is overbroad, unduly burdensome, and
  seeks information that is outside the scope of permissible discovery because it is not relevant to
  any party’s claim or defense, demands “all documents” concerning a general subject, and to the
  extent it seeks documents not kept in the ordinary course of business. Bright House further objects
  to this request to the extent it improperly seeks information protected from disclosure by the
  attorney-client privilege, work product doctrine, common interest privilege, or other applicable
  privilege or doctrine. Bright House also objects to this request to the extent it seeks information
  that is not in Bright House’s possession, custody, or control, that is publicly available, or that is
  equally available to Plaintiffs and to the extent that it is duplicative of other discovery requests that
  Plaintiffs have propounded. Bright House further objects to this request to the extent it purports to
  require Bright House to disclose information that infringes on any individual’s right of privacy,
  whether protected under the United States or any state constitution, or federal or state statute,
  regulation, or common law, or otherwise.
  Subject to and without waiving the foregoing objections, upon entry of an appropriate protective
  order, Bright House will produce responsive, non-privileged documents concerning notices of
  claimed infringement of Plaintiffs’ works in suit that were sent on Plaintiffs’ behalf during the
  Discovery Period, to the extent Bright House finds such documents within its possession, custody,
  or control after undertaking a reasonable and diligent search. Bright House will not produce
  personally identifiable information, other than the IP address, for any person absent a subpoena,
  Court order, or other form of due process that affords any affected individual notice and an
  opportunity to challenge the disclosure of such information.
          This request corresponds with Plaintiffs’ RFP No. 2, and the issues are largely the same.

  This request seeks communications concerning alleged copyright infringement by BHN’s users,

  including communications about Infringement Notices, for January 1, 2010 through May 17,



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  2016. In addition to refusing to produce documents from before 2012, BHN has also refused to

  produce communications related to Infringement Notices not sent by Plaintiffs.

         As a compromise, Plaintiffs are willing to limit the scope of BHN’s production to

  communications relating to Infringement Notices pertaining to those subscribers who have been

  identified in Plaintiffs’ infringement notices, without limitation as to the complainant. Plaintiffs

  offered this compromise to BHN and understood BHN to accept it during their call on October

  24, 2019. Sahni Decl. ¶ 11. BHN now appears to have backtracked on this position without

  explanation, and also appears unwilling to commit to a position on this request until after

  Plaintiffs produce their infringement notices (which has now occurred). Id., Ex. K. BHN’s

  attempt to condition its response on Plaintiffs’ production is improper. See Mayfair, 2010 WL

  11505162, at *2. Discovery of communications about infringement notices relating to all

  subscribers who were the subject of Plaintiffs’ infringement notices, regardless of who sent the

  Infringement Notices, is critical evidence for Plaintiffs’ claims and defenses BHN may try to

  raise. Inter alia, this evidence will demonstrate that BHN had knowledge of specific acts of

  infringement occurring on its network by repeat infringers and will show what action, if any,

  BHN took against such repeat infringers to curb their infringement activity. See BMG Rights

  Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 655–58 (E.D. Va. 2015), aff’d in

  part, rev’d in part, 881 F.3d 293 (4th Cir. 2018) (considering internal communications

  demonstrating willful circumvention of meaningful enforcement of repeat infringer policy).

         Similarly, limiting the timeframe for this Request to begin in 2012, as BHN attempts to

  do, would create a limited picture of the specific acts of infringement occurring on BHN’s

  network about which it was aware. Communications from prior to the claim period could

  provide highly probative evidence of BHN’s knowledge or willful blindness, and its lax




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  enforcement of its copyright infringement policies. See id. at 656, 659 (relying on evidence

  related to infringement, including communications, from three years before the claim period).

  As an illustrative example, suppose BHN is in possession of communications to a specific

  subscriber regarding 10 infringement notices BHN received about that subscriber from third

  parties in 2010, and those communications show BHN elected not to terminate that subscriber’s

  service. Suppose BHN later received several additional Infringement Notices from Plaintiffs

  about that same subscriber during the claim period. The earlier emails would be highly probative

  of BHN’s actions in materially facilitating that user’s infringement activities. But if BHN is

  permitted to withhold communications from prior to the claim period about Infringement Notices

  not sent by Plaintiffs, the communications about those prior instances would be unknown—and

  BHN would be able to effectively conceal its failure to take reasonable steps against a repeat

  infringer. This critical evidence should not be withheld. Plaintiffs thus ask the Court to compel

  BHN to produce communications about Infringement Notices pertaining to those subscribers

  identified in Plaintiffs’ Infringement Notices, without limitation as to the complainant, for

  January 1, 2010 through May 17, 2016.

          D.      Plaintiffs’ RFP No. 15
  REQUEST NO. 15: Documents sufficient to show, by month, the Subscriber ID of each
  Subscriber against whom you have taken any action or implemented any measures in response to
  an Infringement Notice, including but not limited to suspension or termination.
  OBJECTIONS: Bright House objects that this request is overbroad, unduly burdensome, and
  seeks information that is outside the scope of permissible discovery because it is not relevant to
  any party’s claim or defense, including because it seeks documents concerning works and parties
  not at issue in this litigation, and to the extent it seeks documents not kept in the ordinary course
  of business. Specifically, Bright House objects to the undefined phrases “taken any action” and
  “implemented any measures” as vague and ambiguous. Bright House further objects to this request
  to the extent it improperly seeks information protected from disclosure by the attorney-client
  privilege, work product doctrine, common interest privilege, or other applicable privilege or
  doctrine. Bright House also objects to this request to the extent it seeks information that is not in
  Bright House’s possession, custody, or control, that is publicly available, or that is equally
  available to Plaintiffs. Bright House further objects to this request to the extent that it is duplicative
  of other discovery requests that Plaintiffs have propounded. Bright House also objects to this


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  request to the extent it purports to require Bright House to disclose information that infringes on
  any individual’s right of privacy, whether protected under the United States or any state
  constitution, or federal or state statute, regulation, or common law, or otherwise.
  Subject to and without waiving the foregoing objections, upon entry of an appropriate protective
  order Bright House will produce responsive, non-privileged documents forth in its response to
  Plaintiffs’ RFP No. 2.
         This request corresponds with Plaintiffs’ RFP Nos. 2 and 4. Plaintiffs seek documents

  sufficient to show all actions taken by BHN to limit, suspend, or terminate the service of

  subscribers identified in Infringement Notices, for the period of 2010 to 2016. This is necessary

  to provide Plaintiffs with a full historical picture of infringement—and BHN’s responses

  thereto—for all of the subscribers who were subject to an Infringement Notice sent by Plaintiffs.

         BHN refuses to produce documents from before 2012 and to produce documents

  connected to Infringement Notices not sent by Plaintiffs. As above, Plaintiffs are willing to limit

  the scope of BHN’s production to the full infringement and response history for only those

  subscribers who have been identified in Infringement Notices, without limitation as to the

  complainant. As discussed above, Plaintiffs offered this compromise to BHN during the meet-

  and-confer process and BHN appeared to accept before backtracking, and attempting to

  improperly condition its response on Plaintiffs’ own production of infringement notices.

         Discovery of BHN’s actions to limit, suspend, or terminate subscribers in response to

  Infringement Notices, regardless of who sent those Notices, is critical evidence for Plaintiffs’

  claims and defenses BHN may try to raise. Among other reasons, this evidence will demonstrate

  that BHN had knowledge of specific acts of infringement occurring on its network by repeat

  infringers and will demonstrate what actions, if any, BHN took against such repeat infringers to

  curb their infringement activity. To illustrate, if BHN received numerous Infringement Notices

  from third parties about a given subscriber, and did nothing each time, that evidence is relevant

  to Plaintiffs’ claims based on the Infringement Notices Plaintiffs later sent to BHN about that



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  same subscriber. See Venus, 2017 WL 2901695, at *23; Perfect 10, 508 F.3d at 1172.

         The same issues apply to timeframe. Plaintiffs seek records of the actions taken by BHN

  in response to Infringement Notices for January 1, 2010 through May 17, 2016. If BHN received

  15 Infringement Notices from third parties about a given subscriber in 2010, under BHN’s

  proposed limitation, records of BHN’s actions in response would not be produced. Only later

  Infringement Notices sent to BHN by Plaintiffs, about that subscriber during the claim period,

  would be produced. But the prior acts of infringement and actions taken thereon are highly

  relevant to the later acts, as they demonstrate BHN’s knowing failure to curtail a repeat infringer.

  This critical evidence should not be withheld.

         Plaintiffs understand responsive data is likely stored in automated databases, so there is

  no meaningful increase in the burden in producing for the full timeframe Plaintiffs request. BHN

  has never claimed otherwise throughout multiple meet-and-confer discussions. Plaintiffs thus

  ask the Court to compel BHN to produce documents sufficient to show all actions taken by BHN

  to limit, suspend, or terminate the service of subscribers, by Subscriber ID, that were identified

  in Infringement Notices for the period of January 1, 2010 to May 17, 2016.

                                           CONCLUSION
         For the foregoing reasons, Plaintiffs request that the Court issue an order compelling

  BHN to produce the categories of information and documents discussed herein.

                            LOCAL RULE 3.01(G) CERTIFICATION
         Plaintiffs’ counsel conferred with BHN’s counsel on multiple occasions prior to the

  bringing of this motion, including extensive correspondence, an in-person meeting on September

  9, 2019, a teleconference on October 24, 2019, and further written communications thereafter.

  The parties have not been able to resolve the issues in this Motion.




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  Dated: November 22, 2019                Respectfully submitted,

                                           /s/ Mitchell A. Kamin
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 22, 2019, I caused the foregoing document and all

  accompanying materials to be filed electronically with the Clerk of the Court using the CM/ECF

  system, which will send a notice of electronic filing to all counsel of record registered with

  CM/ECF.

  Dated: November 22, 2019

                                                        /s/ Mitchell A. Kamin
                                                        Mitchell A. Kamin

                                                        Attorney for Plaintiffs




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